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                                    CO U RT M IN UTES                                    Page 5

                             M agistrate Judge A licia M .Otazo-Reyes
              AtkinsBuildingCourthouse-10thFloor         Date:4/9/21       Time:10:00a.m.
Defendant:CharlesTerr nceJohnson J#:25795-509 Case#:21-> z2 lgs-W illiams/M cAliley
                                                                                  .e'
           .
AUSA:          '.   .              -                 .   ttorney'
                                                                . AFPD --               -                  .                  .    -



Violation: C berStalking
Proceeding: Arraignm ent                                        CJA Appt:
Bond/PTD Held:E Yes E No                Recom mended Bond:
Bond Setat:Stip Ptd                                             Co-signed by:
 C Surrenderand/ordo notobtainpassports/traveldocs                          Language' English.




 C ReporttoPTSasdirected/or                       x'saweek/monthby          Dispsgity'n: .
         Phone:         x'saweek/monthinperson                     '*                    .       ..                      'r       /'

 (- Random urine testingby PretrialServices                                                               ,.'.
    Treatm entas deem ed necessary                                     -                .'
 C       Refrain from excessive use ofalcohol
 T Participate in mentalhealth assessment& treatment                   --    .


 r- M aintainorseekfull-timeemployment/education
 C Nocontactwithvictims/witnesses                                                +'
 C No firearms                                                               *c0./
                                                                                  *z
 1- Nottoencumberproperty                                                        %mV%%*
                                                                                      e%
 C M ay notvisittransportationestablishm ents
     .                                                                                  .cu
                                                                                         '*%/wL'e*0.      zzê
                                                                                             tt
                                                                                              ekse*ee
                                                                                                    . %z
         HomeConfinement/ElectronicMonitoringand/or                                              e
                                                                                                  %     *
 T                                                                                                    .
         Curfew            pm to           am ,paid by                                                     ex
                                                                                                                %'
                                                                                                                 #
 C Allowances:M edicalneeds,courtappearances,attorneyvisits,
         religious,em ploym ent
 1- Travelextendedto:                                                          '
 r- Other:                                                                   from SpeedyTrialClock
NEXTCOURT APPEARANCE       Date:                Tim e:        Judge:                                            Plate:
ReportRE Counsel'
                .
PTD/Bond Hearing:
Prelim/ArraignorRemoval:
Status Conference RE:
D.A.R. j .' t /                         ..ue'
                                            A-                             yjmeincourt:                                  ym ju-
